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                           No. 24-2574
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          IN THE UNITED STATES COURT OF APPEALS
                 FOR THE SEVENTH CIRCUIT
                   ________________________

     MONICA RICHARDS, individually and on behalf of all other
                similarly situated individuals
                           Plaintiff-Appellee,
                                   v.
             ELI LILLY & COMPANY; LILLY USA, LLC,
                        Defendants-Appellants.
                      ________________________

         Appeal from the United States District Court for the
            Southern District of Indiana, No. 1:23-cv-242
        Hon. Tanya Walton Pratt, United States District Judge
                    ________________________

         REPLY BRIEF FOR DEFENDANTS-APPELLANTS
                  ________________________

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                                     INTRODUCTION

       The question in this appeal is what standard courts should apply in determining

whether and to whom to send notice of a collective action. Section 216(b) gives “similarly

situated” employees the right to sue jointly. Accordingly, before sending notice, a court

should determine whether the recipients are indeed “similarly situated.” And the court

should make that determination the same way courts typically do—by examining the full

record, and expecting the party seeking judicial action to bear the burden of proving it.

The district court here, however, applied Lusardi instead. As Richards agrees, Lusardi

“err[s] on the side of overbroad notice” by requiring the plaintiff to carry only a “modest

burden,” one measured by “only consider[ing] evidence presented by plaintiffs,” while

ignoring the defendant’s proof and foreclosing any inquiry into “merits-overlapping”

similarity issues. Resp.12, 35, 47, 57, 61.

       Instead of defending this, Richards principally retreats to a claim about discretion:

that district courts are free to apply Lusardi, Lilly’s approach, or something else entirely,

and this Court should provide no legal direction. That doubles down on aberration.

District courts exercise discretion all the time, but appellate courts provide the applicable

legal frameworks. The district court here appreciated that the standard for issuing notice

is a “purely legal question” about a “burden of proof.” RSA.25-26. It would be bizarre

for district courts to decide, on a case-by-case basis, what level of proof to demand, or

whether to consider competing evidence. While the Supreme Court did not answer these

questions in Hoffmann-La Roche Inc. v. Sperling, 493 U.S. 165 (1989), it also did not mandate

that they be left to trial courts. To the contrary, the Court specifically foreclosed “unbridled

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discretion” over the “notice-giving process,” and warned against “solicitation of claims,”

even as it reserved for another day the standard for authorizing notice. Id. at 174. This

Court has already begun to lay out legal parameters, as necessary to “maintain neutrality

and to shield against abuse of the collective-action device,” by holding that district courts

cannot send notice without first giving defendants the chance to show that members of

the putative collective entered arbitration agreements. Bigger v. Facebook, Inc., 947 F.3d

1043, 1050 (7th Cir. 2020). This Court there rejected a pure-discretion approach.

       Here, too, the Court should adopt a standard to guide district courts. And Lusardi

should not be that standard. As Richards admits, the Fifth and Sixth Circuits have both

held that Lusardi’s one-sided review contradicts the Supreme Court’s direction that the

“facilitation of notice must not ‘in form or function’ resemble ‘the solicitation of claims.’”

Clark v. A&L Homecare & Training Ctr., LLC, 68 F.4th 1003, 1010 (6th Cir. 2023); see also

Swales v. KLLM Transp. Servs., LLC, 985 F.3d 430, 442 (5th Cir. 2021). This Court’s decision

in Bigger is in accord, notwithstanding Richards’s unprincipled rejoinder that arbitration

is “sui generis.” Moreover, in analogous contexts, like class certification and preliminary

injunctions, courts impose meaningful burdens, weigh the evidence, and do not shut their

eyes to relevant issues. Richards rejects these analogies, but offers none of her own, since

Lusardi is such a unique outlier. Her amici invoke joinder as a comparison, but that misses

the key point: Joinder is a permissive process open to parties; what is at stake here is the

court itself sending notice to third parties that effectively invites them to join a lawsuit.

That serious power, found nowhere in statutory text, must be exercised with care.



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       Richards vigorously defends Lusardi on policy grounds, but only by ignoring its

costs and assuming its benefits. She treats the “false positives” of overbroad notice as

harmless on the ground that collectives can be decertified later, but this Court and others

have already explained that a “notice now; winnow later” process imposes real harms—

it misleads people, wastes resources, and inflates settlement leverage. The statistics that

Richards cites, imperfect as they are, only confirm these concerns. They show that Lusardi

overwhelmingly results in sending out notice; most cases settle thereafter; and, for those

that proceed, more than half are later decertified. That suggests flipping a coin would be

more accurate than Lusardi in identifying a “similarly situated” collective.

       As to the benefits, Richards contends that applying a more rigorous standard for

“similarity” would risk excluding viable plaintiffs, because the factual record at Lusardi’s

first step is so limited. But it does not have to be. Richards is simply assuming her own

conclusion: that the court must issue notice without first allowing record development.

As other Circuits have held (and Lilly agrees), that is backwards—as in other areas of

law, a factual record should be developed, including through discovery, before answering

the question. Even Richards acknowledges that, once such discovery into similarity has

occurred, courts can, should, and do apply a more demanding standard. Her only real

objection is that proceeding in that sequence will delay notice, which (in FLSA cases) will

risk causing other potential plaintiffs’ claims to expire. Letting that concern drive the

analysis is truly the tail wagging the dog. In all events, courts have already adopted

measures to avoid running into these limitations issues, including those advanced in the

amicus brief filed by the Acting Secretary of Labor (DOL).

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       This Court should therefore reject Lusardi, adopt a proper standard for ordering

notice, and remand for application of that standard in the first instance. Richards insists

that a heightened standard would not change the result here, but the district court said

otherwise—indeed, that is why it certified the issue for interlocutory appeal. If anything,

the Court should vacate and remand even if it accepts Richards’s position: She contends

on appeal that Lusardi is optional. But the court below viewed it as a legal straight-jacket.

So, unless this Court holds that Lusardi is legally mandated—a position nobody defends

here—the only appropriate disposition of this appeal is vacatur and remand.

                                       ARGUMENT

I.     THIS COURT SHOULD ADOPT A LEGAL STANDARD.

       Richards’s lead argument is not to defend Lusardi, but to suggest that the standard

for issuing notice is merely a matter of case-management discretion. She says courts are

“free to modify the Lusardi approach as they see fit, or to adopt a different approach

entirely.” Resp.58. So despite arguing below that Lusardi was the “well-established”

“default” in this Circuit (Dkt. 49 at 2-4), Richards now maintains that courts may “divert

from the Lusardi model” entirely (Resp.33) and eschews any “one-size-fits-all” test.

Resp.58; see also DOL.25 (disclaiming an “always-applicable standard”).

       This “anything goes” approach is misguided. Even where district courts exercise

discretion, they do so consistent with legal frameworks. Nothing in Hoffmann-La Roche

calls for a different approach. And, in all events, the district court here did not believe

this to be a purely discretionary call, which is why it certified the question to this Court

for a legal resolution. This argument therefore cannot support affirmance.

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       A.      Legal Standards Are Not Matters of Discretion.

       Most fundamentally, Richards’s position confuses the difference between a legal

standard and the application of that standard to a particular case. Many legal standards

incorporate a measure of judgment or discretion, and district courts receive deference in

applying those standards to the facts. But that is very different from selecting a legal

standard in the first place. The latter is itself a question of law, where district courts take

their guidance from appellate tribunals. See St. Mary’s Med. Ctr. of Evansville, Inc. v. Disco

Aluminum Prods. Co., 969 F.2d 585, 588 (7th Cir. 1992) (explaining that appellate courts

“establish and articulate legal rules,” but “deferentially review a district court’s

application of legal standards to facts,” because only the former will “establish uniform

rules for future decision”). That is why this Court reviews de novo whether a district court

applied the correct standard, even if application of the standard would be reviewed only

for abuse of discretion. See, e.g., Puffer v. Allstate Ins. Co., 675 F.3d 709, 716 (7th Cir. 2012)

(whether court applied “wrong standard” to certify class is “purely legal

determination[]” reviewed “de novo”); United States v. Warner, 498 F.3d 666, 680 (7th Cir.

2007) (“failure to use the proper legal standard is an abuse of discretion”).

       For example, district courts have discretion in determining whether the prejudicial

effect of evidence outweighs its probative value under Federal Rule of Evidence 403. But

they must nonetheless apply the relevant factors, and place the burden on the right party,

consistent with legal precedent. See, e.g., Old Chief v. United States, 519 U.S. 172, 182 (1997)

(setting forth proper “analytical method to be used in Rule 403 balancing”); United States

v. Gomez, 763 F.3d 845, 857-60 (7th Cir. 2014) (en banc) (giving legal guidance on proper

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Rule 403 balancing, including some “categorical” rules); see also United States v. Urena, 844

F.3d 681, 684 (7th Cir. 2016) (summarizing process for “other acts evidence,” including

“initial burden” on “proponent”). Nobody thinks district courts have discretion to alter

the test itself. As another example, district courts have discretion to manage discovery.

DOL.19. But “discovery rulings” are still reviewed on appeal to ensure the district court

applied “the correct legal standards”—even as application of those standards to the facts

is reviewed for “abuse of discretion.” Westefer v. Snyder, 422 F.3d 570, 583 (7th Cir. 2005).

These are not law-free zones.

       Neither should this be. Here, as the district court itself recognized, the question

presented is the “purely legal question” of the standard for issuing notice. RSA.26. Who

should bear the burden of proof? What should that burden be? What evidence should

courts look at? What issues should the court consider? These are classic legal questions

that appellate courts answer, especially when statute or precedent is otherwise silent. For

example, where the relevant rule was “silent,” this Court prescribed “the standard of

proof by which the underlying facts must be proven” to “dismiss[] a suit with prejudice

based on litigation misconduct,” while noting that application of the standard “warrants

the careful exercise of the court’s discretion.” Ramirez v. T&H Lemont, Inc., 845 F.3d 772,

778-79 (7th Cir. 2016); see also, e.g., In re Schlich, 893 F.3d 40, 49-52 (1st Cir. 2018) (observing

that “[t]he Supreme Court has not established the appropriate burden of proof . . . or legal

standard required to meet th[e] burden” for petitions for discovery for use in foreign

proceedings, and providing guidance in light of that silence).



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       Richards objects that selecting a legal standard would result in a “one-size-fits-all”

approach. Resp.31. But every standard is, in some sense, “one-size-fits-all.” It is the

application of the standard to the facts that allows for a case-specific fit. And for questions

like who bears the “burden of proof,” or what body of evidence should be considered,

the interests in predictability and consistency cut in favor of a “uniform[]” rule. Johnson

v. Fankell, 520 U.S. 911, 920 & n.11 (1997). Litigation could hardly proceed if the standard

of proof were an open question in every case. That standard may well be easier to satisfy

in certain cases (cf. Resp.48-50), but the standard itself should not change depending on

the particular facts at hand.

       B.     Hoffmann-La Roche Does Not Mandate Unbridled Discretion.

       Richards bases her “discretion” argument largely on the Supreme Court’s decision

in Hoffmann-La Roche. She misreads it. Nothing in the Court’s decision suggests, far less

“mandate[s],” Richards’s anything-goes approach. Resp.10, 32, 34, 43.

       Hoffmann-La Roche confirmed “the existence of” district courts’ discretion to order

notice, but it expressly left for another day “the details of its exercise,” including the legal

standard for when (and to whom) to send notice. 493 U.S. at 170. Richards’s reading of

that reservation as prescribing complete discretion for district courts as to those “details”

is facially implausible. Hoffmann-La Roche expressly disclaimed the notion that district

courts hold “unbridled discretion in managing ADEA actions.” Id. at 174. And the Court

was also express about the constraints on that discretion: the exercise of the notice power

(1) must not resemble “the solicitation of claims”; (2) must “avoid even the appearance

of judicial endorsement of the merits”; and (3) “must be scrupulous to respect judicial

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neutrality.” Id. Already then, Hoffmann-La Roche was beginning to outline the contours

of a legal standard. By reserving the “details,” the Court was not conferring open-ended

authority. Cf. Luna Perez v. Sturgis Pub. Schs., 598 U.S. 142, 149 (2023) (no precedential

effect when court goes “out of its way to reserve rather than decide [a] question”). It was

simply recognizing an open legal question—one that Courts of Appeals have started to

answer, Clark, 68 F.4th at 1007; Swales, 985 F.3d at 436, and that is teed up here.

       Nor does Hoffmann-La Roche’s citation of Federal Rules of Civil Procedure 16 and

83 support standardless discretion. The Court cited both Rules only to confirm a court’s

authority to prescribe notice at all, as the statute “make[s] no mention” of this power.

Resp.28. These Rules have nothing to do with the standard (or lack thereof). 493 U.S. at

172-73. Proving as much, exercises of authority under either Rule are not themselves

legally unbounded. Exercise of Rule 83 authority is reviewed for consistency with other

law, GCIU Emp. Ret. Fund v. Chicago Trib. Co., 8 F.3d 1195, 1200-01 (7th Cir. 1993); for

sufficient notice, Mass. Inst. of Tech. & Elecs. for Imaging, Inc. v. Abacus Software, 462 F.3d

1344, 1358-59 (Fed. Cir. 2006); and for rationality and unfair prejudice, United States v.

Eleven Vehicles, Their Equip. & Accessories, 200 F.3d 203, 215 (3d Cir. 2000). Scheduling

authority and the accompanying sanction power are reviewed for proportionality. See

Long v. Steepro, 213 F.3d 983, 988 (7th Cir. 2000) (court failed to “follow th[e] established

methodology” for determining if dismissal was appropriate sanction for failure to meet

deadline); Rimbert v. Eli Lilly & Co., 647 F.3d 1247, 1254 (10th Cir. 2011) (applying “four

factors” to “review[] the denial of a party’s motion for a new scheduling order”). Here

too, the notice process should be governed by a proper legal “methodology.”

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       In all events, this Court has already foreclosed interpreting Hoffmann-La Roche as

“mandat[ing]” unbridled discretion over the notice process. Resp.10, 32, 34, 43. In Bigger,

the Court considered whether district courts may send notice to individuals who

(according to the defendant) had signed arbitration agreements. The Court observed the

“dangers of collective actions,” and found a “high” risk that sending notice in those

circumstances would “facilitate abuse of the collective-action device and thus place a

judicial thumb on the plaintiff’s side of the case.” 947 F.3d at 1049-50. If Richards and

DOL were correct that Hoffmann-La Roche conferred total discretion on district courts,

Bigger should have merely admonished district courts to be aware of those concerns when

exercising that discretion. But of course, that is not what this Court did; rather, it held

that “the trial court must take specific steps,” laid out at length, to determine whether a

valid arbitration agreement exists. Id. at 1050 (emphasis added). If a valid agreement is

shown, “[t]he court may not authorize notice” to that employee. Id. (emphasis added).

This Court based these steps on “the court’s obligations to maintain neutrality and to

shield against abuse of the collective-action device” as set forth in Hoffmann-La Roche. Id.

And, having laid out this “analytical framework,” this Court then remanded to allow the

district court to “apply the correct standard.” Id. at 1051. It is impossible to square

Bigger’s prescriptive legal holding with Richards’s unbounded-discretion theory.1


       1 Given Bigger’s precision on this point, it makes no sense to read Bigger’s statement

that this Court “ha[s] not required th[e] two-stage approach, nor do we do so now” as an
affirmative preservation of district-court discretion in facilitating notice, when the Court
specifically was cabining “the scope of a court’s discretion in facilitating notice.” 947 F.3d
at 1049 n.5; contra NELA.10; Resp.33. As in Hoffmann-La Roche, that footnote just reserved
the question—which is squarely presented here.

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       Richards turns instead to the unpublished order denying mandamus in In re New

Albertsons, 2021 WL 4028428 (7th Cir. Sept. 1, 2021). That order concluded that use of the

Lusardi two-step was not “patently erroneous” given its widespread use “in many district

courts” and the absence of circuit guidance. Id. at *2. Nothing about that order supports

unfettered discretion to district courts to choose the legal standard for issuing notice.

Contra DOL.22-25. That this Court did not take up Hoffmann-La Roche’s reserved question

in New Albertsons, in a mandamus posture where the standard for showing error is

exceptionally high, has no bearing on how this Court should resolve that question now

that it has agreed to review it here, under ordinary standards.

       C.     The District Court Did Not Believe It Had Unbridled Discretion.

       For what it is worth, district courts are not under the impression that Lusardi is an

entirely discretionary framework they can discard at will. That is why even district courts

that have expressed doubts about Lusardi have nonetheless “adhere[d]” to it as “the dance

of this circuit.” McColley v. Casey’s Gen. Stores, Inc., 559 F. Supp. 3d 771, 776 (N.D. Ind.

2021). To be sure, courts understand that this Circuit has never adopted Lusardi, but they

also properly view that question as legal, not discretionary. That is why Lusardi’s features

are typically found in the “Legal Standard” part of district court rulings. E.g., Pfefferkorn

v. PrimeSource Health Grp., LLC, 2019 WL 354968, at *2 (N.D. Ill. Jan. 29, 2019).

       Richards and DOL point to Laverenz v. Pioneer Metal Finishing, LLC, 2024 WL

3887110 (E.D. Wis. Aug. 21, 2024), but that decision does not support the view that district

courts have discretion to choose a legal standard. The court there held that Lusardi should

be “reject[ed]” as conflicting with “the FLSA’s text” and “the neutrality required by the

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Supreme Court.” Id. at *8. So it is simply an example of a court that agreed with Lilly that

Lusardi is not legally justifiable. As for the handful of cases that applied a more rigorous

standard because discovery had already progressed (Resp.33-34; DOL.24-25), they too

adopt a legal rule—that the burden should function as a sliding scale based on the stage

of discovery. That is not the same thing as discretion. 2

       Perhaps most importantly, if Lusardi really were a matter of pure discretion, the

district court here did not get the memo. Indeed, the very reason it certified the question

is because it did not think it could “depart from” Lusardi as the “dance of this circuit”

unless “a Seventh Circuit case overrul[ed] this long-applied approach”—acknowledging

that this is a “purely legal” matter for this Court to decide. RSA.6, 26. Accordingly, even

if this Court were to adopt Richards’s current position, vacatur and remand would still

be necessary. If the “standard” is “you pick,” the district court here should be afforded

the opportunity to do what Richards now says it can: discard Lusardi and “adopt a

different approach entirely.” Resp.58; cf., e.g., United States v. Womack, 610 F.3d 427, 434

(7th Cir. 2010) (remanding where court “did not fully appreciate its discretion under the

Guidelines”); Zelaya Diaz v. Rosen, 986 F.3d 687, 688 (7th Cir. 2021) (“remand[ing] for a

proper exercise of discretion” in light of recent precedent).

                                       *      *      *



       2 As explained further below, these cases strongly support Lilly’s position here.    If
a more robust standard can be applied after discovery, there is no good reason why courts
should not simply defer the issue of notice until after there has been an opportunity for
adequate discovery on similarity. That makes much more sense than taking a shot in the
dark and then trying to repair the damage after turning on the lights. See infra, Part II.B.2.

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       This Court should not hold that district courts have unbounded discretion to

determine for themselves, on a case-by-case basis, what legal standard to apply before

authorizing notice. As with other legal standards and burdens of proof, this Court should

provide a governing answer. Hoffmann-La Roche left that legal question open, and Bigger

began to flesh it out. This case is the opportunity for this Court to put some meat on the

bones—guidance that district courts in this Circuit want and deserve.

II.    THIS COURT SHOULD REJECT THE LUSARDI STANDARD.

       For the reasons discussed above, this Court should take this opportunity to adopt

a legal standard to govern a district court’s authorization of notice to potential plaintiffs

in a putative collective action. On the merits, this Court should align itself with the Fifth

and Sixth Circuits by rejecting Lusardi and its three principal features. Richards and her

amici are unable to identify any comparable area of law where courts take action based

on a de minimis showing that ignores contrary evidence and relevant issues. And while

they try to defend Lusardi as a matter of policy, their arguments assume Lusardi’s flawed

sequencing premise and give short shrift to its serious drawbacks.

       A.     Lusardi Is Indefensible as a Matter of Law.

       Richards agrees that, as commonly applied in this Circuit, Lusardi’s key aspects are

that it (i) permits review of only “evidence presented by plaintiffs”; (ii) excludes review

of “merits-overlapping” issues; and (iii) imposes only a “modest burden” on plaintiffs.

Resp.35, 47, 61. Richards touts these as features, not bugs. But they are inconsistent with

this Court’s logic in Bigger, and find no parallel in the law. This Court should thus reject

Lusardi’s flawed and aberrational approach.

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       1.     Bigger is the most relevant Circuit precedent, because it dealt with the same

basic issue of overbroad notice, albeit in a subset of cases: those where the defendant

maintains that some members of the putative collective are not “similarly situated” since

they entered arbitration agreements. Citing concerns about “neutrality” and avoiding

“abuse,” this Court held that district courts “must give the defendant an opportunity” to

make a “showing” that individuals have “waiv[ed] their right to join the action”—and, if

so, the courts “may not authorize notice” to them. 947 F.3d at 1050.

       Lusardi is incompatible with Bigger. By holding that defendants must be given “an

opportunity” to make a “showing,” id., this Court necessarily held that defendants’ proof

cannot be ignored at the notice stage. By holding that courts should determine whether

an arbitration agreement has been proved “by a preponderance of the evidence,” id., this

Court signaled that ordinary evidentiary burdens govern in this context. And by treating

arbitration as an issue that must be addressed “before authorizing notice,” id., this Court

implicitly rejected the view that any issue touching the “merits” of a particular person’s

claim should be deferred until after notice and full merits discovery.

       Richards’s sole response is to insist that Bigger only provided courts “guidance

when presented with arbitration agreements.” Resp.11. That is certainly the context that

Bigger confronted. But this Court’s logic and approach cannot be so easily “cabined.” Id.

The takeaway from Bigger is that district courts should do the work necessary up front

(including by “allow[ing] discovery”) to determine whether the group of notice recipients

is truly “similarly situated,” to avoid “facilitat[ing] abuse of the collective-action device,”

“plac[ing] a judicial thumb on the plaintiff’s side of the case,” 947 F.3d at 1047-50, and

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“wast[ing] … judicial resources” (Resp.24). That reasoning applies equally to any other

situation where the parties dispute whether the notice recipients are “similarly situated.”

Indeed, both the Fifth and Sixth Circuits found that arbitration should be treated just like

other defenses in this regard, and used it as an example to illustrate their rules, with Clark

specifically rejecting the suggestion that a different standard should apply if an arbitration

agreement is at issue. 68 F.4th at 1011-12; see also Swales, 985 F.3d at 441.

       Richards calls arbitration “sui generis” (Resp.36), but offers no sound reason why

that defense uniquely implicates the concerns that drove Bigger’s holding: maintaining

judicial neutrality and avoiding potential abuse. She seems to suggest that an arbitration

agreement would more “unambiguously” exclude someone from a collective (Resp.24),

but that is just not true. The formation or validity of the agreement might be a matter of

factual dispute; meanwhile, some notice recipients might be “unambiguously” outside a

collective’s scope if they, e.g., were not subject to the challenged policy, were independent

contractors rather than employees, or satisfied an FLSA exemption. Richards also says

that arbitration is “quasi-jurisdictional.” Resp.36. It is actually an affirmative defense,

no different from any other. See Kass v. PayPal Inc., 75 F.4th 693, 699 (7th Cir. 2023) (“As

is true of most affirmative defenses, and certainly those that are waivable, an affirmative

defense of arbitrability does not defeat subject-matter jurisdiction.”).

       Rather than engaging with Bigger’s logic, Richards again retreats to the order

denying mandamus in New Albertsons, claiming it blesses Lusardi and diminishes the

concerns aired in Bigger. See Resp.51. Of course, an unpublished disposition must yield

to preceding precedential decisions in the event of a conflict—but there is none. New

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Albertsons reasoned only that the burdens of overbroad notice do not qualify as

“irreversible harm” sufficient to support mandamus relief, and even that was a quick

belt-and-suspenders addition to the order’s explanation that no indisputable legal right

or clear error had been shown. 2021 WL 4028428, at *2. Richards’s doubtful close reading

of this order well illustrates why such orders typically “should not be argued for their

precedential effect.” United States v. Prado, 41 F.4th 951, 953 n. 1 (7th Cir. 2022).

       2.     Even setting Bigger aside, Lusardi is highly dubious if only because it has no

parallel in the law. Courts do not generally grant relief—even temporary, limited relief—

based on a one-sided record, applying a minimal burden, and ignoring issues just because

they overlap with other inquiries. To the contrary, in the most analogous contexts (Rule

23 class certification, and preliminary injunctions) courts consider all of the evidence, all

of the relevant issues, and require the plaintiff to satisfy a meaningful burden. See Lilly.22-

25, 27-29. Richards disputes both analogies, but offers none of her own, because courts

do not take Lusardi-like approaches in any comparable situations.

       Richards devotes pages of her brief to arguing that “Rule 23 has no applicability

to collective actions.” Resp.37-43. That misses the point. Lilly was drawing an analogy,

not suggesting that Rule 23’s substantive or procedural requirements apply in toto to

collective actions. Richards is correct, for example, that a class’s “independent legal

status” makes a class action “different from many other types of aggregate litigation.”

Vanegas v. Signet Builders, Inc., 113 F.4th 718, 723-24 (7th Cir. 2024). She is also correct that

a plaintiff in a collective action need not meet Rule 23’s “adequacy” requirement, since

she is not purporting to represent “absent class members.” Resp.38. But none of that

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undercuts the analogy: In the Rule 23 context, the plaintiff asks the court to take action

(certifying a class) that is proper only if there is “commonality” (among other things). In

conducting that inquiry, courts “consider all the available evidence,” even when it is

“intertwined” with the merits, and demand proof by a preponderance. Swales, 985 F.3d

at 441-42. Why shouldn’t the same be true when a plaintiff asks the court to take action

(sending notice) that is proper only if the recipients are “similarly situated”?

       After all, this Court has already recognized that “there isn’t a good reason to have

different standards for the certification of the two different types of action,” insofar as

they overlap. Espenscheid v. DirectSat USA, LLC, 705 F.3d 770, 772 (7th Cir. 2013). A fortiori,

at least the evidentiary burdens ought to be parallel. Richards implies that Espenscheid has

been overruled by Genesis Healthcare Corp. v. Symczyk, 569 U.S. 66 (2013), but that is again

conflating analogy with equation. The difference observed in Genesis between class and

collective actions (the “independent legal status” of a class, id. at 75) does not conflict with

Espenscheid’s observation that the certification standards should logically track each

other, at least as they relate to commonality and similarity. See 705 F.3d at 772.

       Richards’s response to the preliminary injunction analogy also bumps up against

this Court’s precedent. Her central reason for rejecting Clark’s requirement of a “strong

likelihood” of similarly-situated status, 68 F.4th at 1011, is that “providing notice is of

limited legal consequence,” Resp.42; see also NELA.7 (contrasting “high stakes of

enjoining” with “relatively low” stakes of “simply providing notice”). But Bigger did not

view notice as a small thing—it poses the “danger[]” of “wield[ing] the collective-action

format for settlement leverage” and creating unfair “pressure to settle” meritless claims.

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947 F.3d at 1049. These dangers are so consequential, this Court said, that district courts

cannot invoke “efficiency” as a basis to send notice without resolving up front whether

some members of the group are bound by arbitration agreements. Id. at 1050. Richards

barely engages with Bigger’s instruction to take those dangers seriously, or with Clark’s

key point that the power to “expand the plaintiffs’ ranks a hundredfold” will necessarily

“forc[e] a defendant to settle” in many cases. 68 F.4th at 1007; see also infra, Part II.B.1.

       Although Richards offers no analogy of her own, her amicus points to pleading

standards and joinder—which would call for an even more lenient standard than Lusardi,

accepting the “pleadings alone” as sufficient to order notice. NELA.22. That cannot be

reconciled with Bigger. It also glosses over the critical difference: Pleading and joinder

standards are not used to justify judicial action. Anyone can file a complaint, or file a

joinder to opt-in to a collective action; the plaintiff in those situations is not asking the

court to do anything. Here, the plaintiff is asking the court to send notices to hundreds

or thousands of non-parties, advising them of a putative collective lawsuit and explaining

how to join it. That is a unique tool, at once incredibly powerful and also very dangerous.

The least a court should do before exercising it is ask whether the plaintiff has adduced

meaningful evidence that the recipients would be proper plaintiffs. 3



       3 Lilly does not quibble with NELA’s point that § 216(b) sets a joinder standard by

allowing “similarly situated” employees to sue together. But that has nothing to do with
the standard for sending notice. This appeal is about whether and how plaintiffs must
prove that notice recipients are “similarly situated,” not the substantive meaning of that
phrase. In other words, whether the claims must arise from the “same transaction or
series of transactions” (NELA.17) or the test is something different, this appeal is about
the burden and standard of proof for making that showing to justify notice.

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       3.     Lacking any analogy, Richards cites (older) circuit authorities that appeared

to approve of Lusardi. Resp.32. But in many, the issue was not contested—typically,

because it became moot with notice out the door by the time of appeal. See, e.g., Myers v.

Hertz Corp., 624 F.3d 537, 555 (2d Cir. 2010) (describing two-step process as “sensible” but

declining to exercise jurisdiction over related question); White v. Baptist Mem’l Health Care

Corp., 699 F.3d 869, 877 (6th Cir. 2012) (pre-Clark decision summarizing typical practice);

DOL.13-15 & nn.3-4. Only the interlocutory postures of Swales and Clark allowed those

Circuits to address the step-one notice standard directly. This Court now has the same

opportunity. It should require plaintiffs to persuade a court that “similarly situated”

others actually exist before inviting those others to join the litigation fray.

       B.     Lusardi Is Indefensible as a Matter of Policy.

       Lusardi is not just a doctrinal aberration. It also makes no policy sense. Erring on

the side of overbroad notice (Resp.57) wastes resources on cases that could never be tried

collectively, imposes prejudicial settlement pressure, and undermines judicial neutrality.

It makes far more sense to prioritize discovery into similarity and then conduct a robust

inquiry. In defending Lusardi, Richards pooh-poohs its costs, while gerrymandering her

premises to generate benefits. She gets both sides of the policy scale wrong.

       1.     As to costs, a theme of Richards’s brief is that courts should “err on the side

of overbroad notice” (Resp.57) because, in short: “what’s the big deal?” Bigger explains

why overbroad notice is a big deal: It creates “settlement leverage” and undermines

judicial “neutrality” by resembling the “solicitation of claims.” 947 F.3d at 1049. In

recognizing those dangers, this Court drew directly from Hoffmann-La Roche. 493 U.S. at

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171, 174. And those are not the only harms. Telling employees to consider suing their

employer has obvious adverse effects on a business’s reputation, morale, and operational

continuity—which is why defendants so vigorously resist it. Richards is wrong to claim

that New Albertsons “rejected” these concerns. Resp.51-52. That order said the harms of

overbroad notice were sufficiently like other “burdens of civil litigation” that they do not

qualify as “irreversible harm” for mandamus purposes. 2021 WL 4028428, at *2. That

does not mean they should be ignored in considering Lusardi’s policy merits.

       Richards next argues that these harms are “speculative.” Resp.51. Yet the data

she cites bear out Lilly’s points. Conditional certification motions were granted over 80%

of the time in one year. Resp. 52. 4 The report that Richards cites treats these figures with

alarm, emphasizing “[t]he ease” of “first-stage certification” and risk of “opportunistic

settlements.” Seyfarth at 9, 12; see also Chamber.20-22. Richards suggests that 81% is not

jarring in light of “the 72% success rate for certification of employment-discrimination

class actions under Rule 23 during the same year.” Resp.52. But due to small sample

sizes, the class certification rate varies tremendously year-over-year, even as the notice-

grant rate holds steady (Resp.53 n.5). For example, a report on 2023 class actions showed

a 50% certification rate for discrimination claims. 5



       4 That is a nationwide rate, including cases in the Fifth Circuit governed by Swales.

The grant rate in the Fifth Circuit was a more modest 59%. Seyfarth, 18th Annual
Workplace Class Action Litigation Report 9 (2022), https://www.content.seyfarth.com
/publications/Workplace-Class-Action-Report-2022) (“Seyfarth”). In this Circuit, the
grant rate in the year that Richards reviewed was a whopping 94%. See id.
       5 Duane Morris, Duane Morris Class                   Action     Review    8    (2024),
https://online.flippingbook.com/view/954167557/.

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       After conditional certification and notice, Richards points out that settlement is

“common,” and that decertification motions were granted over 50% of the time when

defendants pressed the issue. Resp.53-54. That is an even more stunning statistic about

Lusardi’s “false positives.” If this really indicates that Lusardi “is operating as intended”

(Resp.53), that is a devastating indictment. A standard that operates “as intended” yet

leads to reversal a majority of the time is a standard that needs to be replaced. 6

       2.     Turn to Lusardi’s supposed benefits. Richards’s central argument is that, if

“the record is extremely limited,” a higher burden would risk “improper exclusion” of

viable plaintiffs. Resp.47. As Richards puts it, a lenient and one-sided approach is

necessary because anything more robust “would result in improperly excluding viable

plaintiffs” given than “the factual record may be significantly lopsided or incomplete.”

Resp.12; see also Resp.50. In short, since plaintiffs have no real evidence at the notice stage,

it would be unfair of courts to demand it. This argument hinges on the premise that, at

the notice stage, the record will necessarily be “limited” and “incomplete,” presumably

because discovery has not yet taken place. But that simply assumes Lusardi’s premise—

that notice must precede discovery into similarity.




       6 Richards tries to pin the contemplation of overbroad notice on Hoffmann-La Roche

(Resp.42), because it referred to “notice to potential plaintiffs,” 493 U.S. at 169 (emphasis
added). But nonparties—even similarly situated ones—are always “potential plaintiffs”
until they choose to opt-in. Indeed, in Hoffmann-La Roche, the group of “similarly situated”
employees did not appear to be disputed, since the case concerned a “reduction in work
force” affecting “some 1,200 workers,” id. at 168; the Court therefore must have been
referring to “potential plaintiffs” in the sense of those who may choose to join (rather than
in the sense of those who may turn out to be similarly situated).
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       That premise is false. Reasonable, proportional discovery into similarity can and

should come first. In class actions, discovery is often bifurcated between a first round

“relating to class certification” and broader “fact discovery” into the merits. George v.

Kraft Foods Glob., Inc., 641 F.3d 786, 789 (7th Cir. 2011). And district courts in the Fifth and

Sixth Circuits are already providing models for expedited initial discovery appropriately

tailored to “whether Plaintiff is similarly situated with those in her proposed collective.”

Hamm v. Acadia Healthcare Co., 2021 WL 5749900, at *4 (E.D. La. Oct. 19, 2021); see also Jones

v. Ferro Corp., 2023 WL 4456815, at *6 (N.D. Ohio July 11, 2023) (permitting “expedited

discovery” that is “limited to information bearing on the ‘similarly situated’ inquiry”);

Fed. R. Civ. Proc. 26(b) (discovery must be “relevant” and “proportional”).

       Richards seems to hint that discovery is not possible before opt-in plaintiffs receive

notice, because “individualized merits determinations” cannot be made in their absence.

Resp.49. That misunderstands the inquiry. Notice turns on whether the employees are

similarly situated, not whether their claims have merit. That is why class certification

discovery can be undertaken despite absent class members. Likewise here, a plaintiff can

use threshold discovery to explore, e.g., whether other employees were governed “by the

same-company wide policy,” Loy v. Rehab Synergies, LLC, 2021 WL 3931926, at *12 (S.D.

Tex. Sept. 2, 2021), and whether defenses would be “globally applicable,” Gomez v. Glob.

Precision Sys., LLC, 2024 WL 3910962, at *6, 8 (W.D. Tex. Aug. 19, 2024), without getting

into other employees’ “individualized experiences” (Resp.49). 7



       7 Reflecting further confusion, Richards suggests employees who suffer the same

“adverse employment action” are “similarly situated.” Resp.49. That makes no sense.
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       Richards quietly concedes the practicality of this approach. Both she and DOL

observe that courts sometimes raise Lusardi’s standard when discovery has already been

taken. Resp.33-34; DOL.24. Richards agrees a “higher” burden makes sense “with the

benefit of a fuller record.” Resp.58. But that confirms Lilly’s point: The court can always

put itself in that position by authorizing discovery on the similarly-situated inquiry and

then weighing the evidence to make an informed determination. That will always be

superior to a one-sided analysis on a limited record. Why not do it that way?

       Richards has one objection: that delays inherent in building a record could lead

the statute of limitations to expire for some potential plaintiffs. Resp.46. It is true that

even expedited discovery takes time. But it is far from clear that the potential expiration

of potential nonparties’ claims should take precedence over accurately identifying the set

of similarly situated employees. Hoffmann-La Roche does not set forth an affirmative duty

to ensure that nonparties are alerted to the possibility they can file or join a lawsuit. After

all, limitations periods expire all the time without courts sending warning letters. And

as Richards’s amici agree, notice is not a prerequisite to joinder (or, for that matter, to

filing a separate suit), and plaintiffs’ counsel need not seek court permission to solicit opt-

ins through ordinary non-judicial means (such as now-ubiquitous attorney advertising).

NELA.22 n.5; cf. Adams v. Atty. Registration & Disciplinary Comm’n, 801 F.2d 968, 973 (7th

Cir. 1986) (constitutional limits on restricting direct mailings from attorneys).


Employees are not similarly situated just because they were not promoted. What matters
is whether they are “similarly situated” as to their legal claims; that turns on whether they
were victims of a common policy (as well as other considerations such as their disparate
employment settings, the presence of individualized defenses, etc.).

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       That said, if the Court has concern about the statute of limitations, there are already

doctrines addressing it. Richards admits that, due to piggybacking, she is not worried

about expiration of ADEA claims. Resp.46. For FLSA claims, Richards does not dispute

that courts use tolling doctrines to account for delays in sending notice. Indeed, DOL’s

brief primarily seeks to prompt this Court to encourage district courts to “consider[]

equitable tolling” in such cases. DOL.25-29. There is no need (or occasion) here to issue

any ruling on the precise availability of FLSA tolling. But the Court can acknowledge

what DOL has noted: Courts have exercised this power and may continue doing so in

future cases. See Clark, 68 F.4th at 1014 (Bush, J., concurring). And that means there is no

reason not to proceed in the logical sequence—discovery and then adjudication.

III.   THIS COURT SHOULD VACATE AND REMAND TO APPLY THE CORRECT STANDARD.

       Upon correcting the standard for notice, this Court should vacate the order below,

and remand for the district court to determine if Richards has met that standard in light

of all record evidence. Richards contends that a heightened standard would produce the

same outcome, so “affirmance is still proper.” Resp.64. But the district court indicated

otherwise: that its decision would differ under a higher standard (which is why an appeal

would likely “affect the further course of the litigation”). RSA.26-27; Lilly.43.

       As such, Richards’s claim that the district court “did review Eli Lilly’s evidentiary

showing” falls flat. Resp.62. The court was clear that all disputes “will be resolved … in

plaintiffs’ favor” and that “[r]eliance on defendant declarations is largely misplaced” at

the notice stage. RSA.4, 8. The court’s mere acknowledgment of Lilly’s evidence is not the

same as “weighing” it—an act it expressly disclaimed. RSA.13.

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       Affirmance is thus off the table if the Court rejects Lusardi. Indeed, affirmance is

off the table even if the Court adopts Richards’s primary position that district courts have

discretion to accept or reject Lusardi at will. As explained above, the district court here

(correctly) understood the burden of proof to obtain notice as a “purely legal question”

for this Court, not a free choice for its optional discretion. RSA.26. Either way, therefore,

the proper disposition here is to vacate and remand. See supra, Part I.C.

                                     CONCLUSION

       This Court should vacate the order certified for appeal and remand for application

of the proper standard for approving notice to a putative collective.



       Dated: December 18, 2024                   Respectfully submitted,

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      I certify that this brief complies with the type-volume limitation of Federal Rule of

Appellate Procedure 32(a)(7)(B), as modified by Circuit Rule 32(c), because, as calculated

by Microsoft Word 365, it contains 6975 words, excluding the parts of the brief exempted

by Federal Rule of Appellate Procedure 32(f). This motion also complies with the

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Dated: December 18, 2024                               Respectfully submitted,

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                             CERTIFICATE OF SERVICE

      I hereby certify that, on December 18, 2024, pursuant to Federal Rule of Appellate

Procedure 25 and Circuit Rule 25(a), I electronically filed Defendant-Appellants’ (Reply

Brief with the Clerk of Court of the U.S. Court of Appeals for the Seventh Circuit via the

CM/ECF system and service was accomplished on counsel of record by that means.



Dated: December 18, 2024                               Respectfully submitted,

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